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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


ELMER WILLIAMS,

      Plaintiff,

v.                                              Case No. 3:22-cv-955-MMH-MCR

RICKY DIXON, et al.,

      Defendants.


      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Plaintiff Elmer Williams filed this civil rights lawsuit while he was

incarcerated in the custody of the Florida Department of Corrections (FDC). He has

since been awarded compassionate medical release and is no longer in the custody of

FDC, but rather in the care of his family. Pickens v. Mgmt. & Training Corp., 2017 WL

5559847, *2 & nn.14-15 (S.D.Miss., Nov. 17, 2017) (holding plaintiff’s

grandmother’s house, where he was required to live under terms of “earned-release

supervision,” was neither a correctional facility nor a halfway house for purposes of

the Prison Litigation Reform Act). Accordingly, pursuant to Rule 41(a)(1)(A)(i),

Plaintiff Elmer Williams voluntarily dismisses this action without prejudice. Frazier v.

McDonough, 264 F. App’x 812, 815 (11th Cir. 2008) (per curiam) (“Dismissals of

claims for monetary damages under 1997e(e) ‘should be without prejudice to re-filing
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if and when the plaintiff is released.’”) (quoting Harris v. Garner, 216 F.3d 970, 980

(11th Cir. 2000) (en banc)).

      Respectfully submitted this 3rd day of November 2022.

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                                 Certificate of Service

      I hereby certify that on November 3, 2022, I electronically filed the foregoing

document with the Clerk by using the CM/ECF system, which will serve a copy on

all counsel of record.


                                                By: /s/ James M. Slater
                                                      James M. Slater




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